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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

Vincent R. Coccoli, Sr.
Vv. C.A. No. 19-489

David D’ Agostino, Jr. Esq.

David D’ Agostino, Sr.

Peter J. Furness, Esq,,

Alden C. Harrington, Esq.

David Provoncil,

Jeffrey Hanson

Theodore Pryzbyla

The Town of Scituate

Town of Scituate Plan Commission/Board
Scituate Town Council

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS IN LIEU OF ANSWER OF
DEFENDANT ALDEN C. HARRINGTON, ESO.
INTRODUCTION
Plaintiff Vincent R. Coccoli Sr. (Plaintiff), acting pro se has filed a “Verified Complaint
and Request for Injunctive Relief?” listing multiple defendants most of whom are officials of the
Town of Scituate, but also Peter J. Furness, the Receiver for New England Development, RI, LLC
(“NED”){“Furness” or “Receiver”) and the Receiver’s attorney Alden C. Harrington, Esq.

(“Harrington”).' See LaBonte v. New England Development LLC. PM-2010-465 —

 

' Harrington was served on September 26, 2019 with a response due by October 16,2019. Furness
was served a number of days thereafier, and his responsive pleading is due on October 28, 2019,
Harrington requested the courtesy of an extension of time to file his Response so that Recetver’s
Response and Harrington’s Response would be due at the same time. Plaintiff refused.
Harrington’s Motion will address only issues that are specific to Harrington without waiving
significant issues that relate to Plaintiff's allegations regarding the Receiver.

 
Case 1:19-cv-00489-WES-LDA Document 22-2 Filed 11/05/19 Page 2 of 32 PagelD #: 464
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PROCEDURAL HISTORY
As detailed in the Motion and Memorandum of the Municipal Defendants, (ECF Docket
8) and Motion and Memorandum of David M. D’ Agostino, (ECF Docket 12) this action comes
only after years of litigation between Plaintiff Coccoli and the Municipal Defendants.? Coccoli v.
Town of Scituate, Providence County Superior Court C.A. 2015-3549.7 Furness was initially
named a Defendant in that matter but was voluntarily dismissed by the Plaintiff in December of
2015 after Furness’ filing of a Motion to Dismiss. In addition, the Plaintiff has been an active
participant and litigant in the Receivership matter, LaBonte v. New England Development, LLC,
Providence County Superior Court C.A. 2010-4650. Furness is the Receiver and Harrington has
represented the Receiver in a number of contested issues in the course of the of the Receivership
proceedings involving the Plaintiff. Other than acting as counsel to the Receiver, Harrington has
had no other status as a party or a witness in either case nor has the Plaintiff set forth any facts that
might cause him to be a Defendant in this proceeding.
STANDARD OF REVIEW
To survive a motion to dismiss under Fed, R. Civ. P. 12(b)(6), the allegations in the
complaint must “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that
is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662; 678 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570 (2007)). At this stage, the Court must “accept the well-pleaded facts

as true” and “view factual allegations in the light most favorable to the plaintiff.” Rederford v.

 

* Defendant Harrington incorporates where applicable the arguments set forth in the Municipal
Defendants’ Memorandum of Law in Support of their Motion to Dismiss in Lieu of Answer.
Defendant Harrington will offer pertinent additional argument herein.

> Reference to filings and orders in State Court proceedings are subject to judicial notice and may
be submitted in connection with a Motion to Dismiss pursuant to 12(b)(6) without the Motion
becoming subject to F.R, Civ. P 56.

 
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US. Airways, Inc., 589 F.3d 30, 35 (1st Cir. 2009). Dismissal under Rule 12(b)(6) is appropriate
if “it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which
would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

As noted in the Memorandum of the Municipal Defendants at p. 2-3, and, Judge Selya in
Aulson v. Blanchard et. al. 83 F.3d 1,3 (1st Cir. 1996) commented:

We hasten to add, however, that this deferential standard does not force the
appellate court to swallow the Plaintiff's invective hook, line, and sinker; bald assertions,
unsupportable conclusions, periphrastic circumlocutions, and the like need not be credited.
See Correa-Martinez, 903 F.2d at 52; Dartmouth Review v. Dartmouth Coll., 889 F.2d 13,
16 (1" Cir. 1989),

In 937-49 of his pleading Plaintiff complains of actions by the Municipal Defendants
particularly as it relates to Plaintiffs ptior litigation against these Defendants in Coccoli v. Town
of Scituate et al. C.A. 2015-3539. Defendant Harrington’s role in said litigation was limited te
preliminary appearances that preceded the voluntary dismissal of the Receiver. There is no
allegation that Defendant Harrington had any additional involvement in that litigation as either
counsel for the Receiver or as a party. That proceeding was commenced neither by Defendant
Harrington nor the Receiver.

AS pointed out by the Municipal Defendants and Defendant David M. D’Agostino with
regard to their alleged activities, the Plaintiff has failed to identify with particularity any conduct
on Harrington’s part that might give rise to any alleged liability; cannot support any federal
constitutional claims as to Defendant Harrington and cannot sustain a viable claim to an allegation

of a conspiracy.

 
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ARGUMENT
The Complaint Fails to State a Claim For Malicious Prosecution as to Defendant Harrington
The elements of the tort of malicious prosecution include: (1) a prior criminal or civil
proceeding; (2) instituted maliciously and without probable cause, and (3) terminated
unsuccessfully for the Plaintiff (the Defendant of the malicious prosecution claim) Palazzo v. Alves
944 A.2sd 144, 152-153 (RI 2008),

1. The Plaintiff's Allegations as to Defendant Harrington are Vague and
Unsupported

Defendant Harrington attracts little attention in the Plaintiffs pleading. In {9 he is
identified as an attorney without further factual allegations that connect him with the Plaintiff's
complained of activities. Notably there are no allegations that connect Defendant Harrington with
any of the Town governmental bodies or Town Officials — and there is no basis to do so.-

In Gf] 24-27 Plaintiff alleges that Defendants Harrington and Furness‘ “...created malicious
prosecution based on ‘allegations of contempt’...”. Plaintiff's Complaint at (26 makes reference
to a contempt proceeding where the Plaintiff apparently feels aggrieved by the result. Even with
some knowledge of the prolonged history of this case and two separate contempt proceedings it is
impossible to determine from the Complaint exactly what action on the part of Defendant
Harrington is the source of Plaintiff's grievance or any hint at what makes that conduct actionable.
A Defendant should not be forced to guess at the factual basis of the Plaintiff's claim. Fed. R. Civ.
P. 8(a)(2) Gargano v. Liberty International Underwriters, Inc, 572 F.3d 45, 48 (1* Cir. 2009).

2. Plaintiff Coccoli cannot sustain a claim for Malicious Prosecution as there

is an absence of litigation instituted maliciously that was terminated
unsuccessfully for the Defendant herein

 

* Furness is Harrington’s Partner in Richardson, Harrington & Furness, Inc., formerly Boyajian,
Harrington, Richardson & Furness, Inc. Furness is the Receiver for New England Development,
RI, LLC (“NED”) appointed in August 2010.

 
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Harrington represented the Receiver in two contempt proceedings brought by the Receiver
against Plaintiff Coccoli. See LaBonte v. New England Development P.M. 2010-4650. Attached
hereto at Exhibit A is the transcript of the Hon. Justice Michael Silverstein’s (Ret.) findings on the
Receiver’s Contempt Motion as to Plaintiff Coccoli. Attached hereto at Exhibit B is a copy of the
July 13, 2016 Order finding Coccoli in contempt and entering further and more specific injunctive
relief against him in order to prevent his continued interference with the Hope Mill Receivership
and the Receiver’s Court-approved sale of the Hope Mill.* Coccoli did not appeal the January 8,
2016 Order entered by Judge Silverstein approving the Receiver’s Petition to Sell. A copy of the
January 8, 2016 Order is attached hereto as Exhibit C.

Undeterred by Justice Silverstein’s admonitions, Plaintiff's behavior forced the Receiver
to file a Supplemental Motion for Contempt in 2017, This Motion was resolved by agreement
with Coccoli without factual findings. A copy of the Order is attached hereto at Exhibit D.
Although there were no findings, the Order entered significantly restricts Plaintiff Coccoli’s
litigious behavior regarding the Hope Mill, the Receiver, his attorney and other participants in the
proposed sale and redevelopment of the Hope Mill. The fact that the second contempt matter was
resolved through a settlement without findings cannot constitute a “favorable resolution” so as to
support a malicious prosecution claim. Palazzo v. Alves 153-154 an cases cited therein. See also
Miller vy. Metropolitan Property and Casualty Insurance Co. et al. (partial summary judgement

granted as to malicious prosecution claim).

 

> Plaintiff Coccoli filed an appeal to the Rhode Island Supreme Court. (Docket No. SU-2016-
0239) He did not seek a stay of the applicable Orders in conjunction with this appeal nor is there
any basis for an appeal.

 
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Plaintiff makes no allegation that he successfully defended against any contempt action
brought by the Receiver with Harrington as Counsel. In fact, just the opposite occurred. There is
not a single word of the Court’s findings or Orders where Coccoli can claim success. Not only is
Plaintiff Coccoli also subject to the general injunction in {12 of the original Receivership Order,
he is subject to the more specific injunction directed to him specifically contained in 95 of Justice
Silverstein’s July 13, 2016 Order (Exhibit B), as well as the more expansive Order entered in
November of 2017.

Plaintiff has failed to make any allegation of any fact that would give rise to a claim of
malicious prosecution against Defendant Harrington.

CONCLUSION

Plaintiff's Complaint is little more than a compendium of grievances with his State Court
experience which are completely lacking in specific facts which can support any viable legal claim,
constitutional or otherwise, against Defendant Harrington.

For the reasons set out herein and in the Memorandum of the Municipal Defendants,

Plaintiff's Complaint as to Defendant Harrington must be dismissed.

Alden C. Harrington,
By his attorney,

/s/ Peter J, Furness

Peter J. Furness, Esq. (#3608)
Richardson, Harrington & Furness
182 Waterman Street
Providence, R.I. 02906 -

Phone (401) 273-9600
Peter@Rhf-lawri.com

 
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CERTIFICATE OF SERVICE

I hereby certify that on October 16, 2019 I electronically filed the within document with
the U.S, District Court for the District of Rhode Island using the CM/ECF System. The

following participants have received notice electronically:

Patrick Cunningham
Patrick@Desistolaw.com

Michael Desisto
Michael@Desistolaw.com

Vincent R. Coccoli, Sr.
Vincoccoli@verizon.net |

David D’ Agostino, Jr. Esq.
DavidDagostino@gorhamlaw.com

/s/Tiffany Sebzda

 
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[hereby certify that on October 16, 2019 I electronically filed the within document with
the U.S. District Court for the District of Rhode Island using the CM/ECF System. The
following participants have received notice electronically:

Patrick Cunningham
Patrick@Desistolaw.com

Michael Desisto
Michael@Desistolaw.com

Vincent R. Coccoli, Sr,
Vincoccoli@verizon.net

David D’ Agostino, Jr. Esq.
DavidDagostino@gorhamlaw.com

/s/Tiffany Sebzda

 
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: ; 164

 

   
  
  
   
  
  
 
   
  
  

1 MR. COCCOLI: Correct.
2 THE COURT: “You said 2600,
3 MR. COCCOLTI: No, no, I'm sorry.
4 | THE COURT: All right. Go ahead.
5 MR, COCCOLT: 2000 -- the money that “- and that I
/ 6 _.- spent from 2010 through 2014 preserved the estate, If I
| 7 | aid not jump through hoops, twenty-two’ --
8 | THE COURT: Wasn't that all in fonsideration of the
9 various purchase and sale agreemeyts that you hac?
10 MR, COCCOLI: Yes, Your Horpor, and that's correct.
11 But at the -- I'm just saying/the attitude, he --
12 Mister Harrington is -répresenting that ~~ -
i3 misrepresenting my effortg. I took a chance and I was -~
14 I'm so committed. If it/'s not $10,000 for insurance, any
15 time I had to belly up to the bar, whether it. would be
16 insurance or cleaniyg up a 22,000 gallon, 134 tons! worth
17: | |. -oF re -- there'd @ no estate here, we wouldn't even be

i8 here now,

19 | So, - rying to do the best I can do, [ am not

20 - an willful céntempt. TI assure you, Your Honor, I am not
21 in willful contempt .

22 THE/COURT: Thank you.

23 , COCCOLE: Thank you, sir.
24 THE COURT: This matter is before the Court at this

25 point in conection with the, essentially, motion by the

 

 

 

 

 

 
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165
1 Receiver, Mr. Furness, to hold Mr. Coccoli in contempt.
2 The alleged contempt deals primarily, in the view of this
3 Court, with actions taken by Mr. Coccoli contrary to the
4 provisions contained in the order, initial order
5 appointing a permanent receiver in this case, an order
6 that was entered actually by me in August: of 2010,
7 August 31, to be precise. . |
' 8 And as argued to the Court by counsel to the !
9 Receiver, Paragraph 12 contains a prohibition against
19 ~ “anyone with knowledge of the existence of that order and
Jal of its language from ".,.interference with the permanent
12 receiver in the discharge of his duties by any of such
13 parties as aforesaid..."
14 While there is no question in the Court's mind that
is Mr. Coccoli had knowledge of the entry of this order for
16 many years, the evidence béfore the Court. discloses
49 clearly that he, jn fact, received notice subsequent to
18 the filing of his suit against the Town of Scituate and
19 others, And the clear and convincing evidence is that he
20 received it at a time when he was being asked either
21 i -*Eorcefully through court process or voluntarily, as
22 turnéd out to be the fact, to drop the Receiver as a
a3 party to that proceeding, . |
24 | Accordingly, the Court would hold that. all of the
25 |. acts, all of ‘the acts that took place before that cannot

 

 

 

 

 

 
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25 f.

166

 

established that the defendant here received notice,

with distressed properties, which is one major area of

receivership practice. It's not the only area, The

to the Court that in his zeal to accomplish that which he

 

be found to be contemptuous of the order because that's

the first time that we can establish or that it has been

specific notice.

It is clear, however, to the Court, but T am not
going to make a finding, that he had notice before that.
That. doesn't mean that to determine what his state of
mind has been in comection with acts that took place
subsequent to that time one cannot refer back to actions
that took place before,

And while talking about, as perhaps the Court
shouldn't but I am going to, state of mind. It is
somewhat clear to this Court that Mr. Coccoli's life, at
least as has been demonstrated here, has revolved around
this mill site, That he is heavily invested personally
in the effort to rehabilitate for housing purposes or for
whatever purpose this what I now am told is a peninsula,
T didn't know that until I heard his closing argument,
that this is important to him.

However, the sanctity of the receivership process is

important to this Court, to the judicial system dealing

evidence that has been put before the Court demonstrates

 

 

 

 

 

 
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Lo . thinks should be accomplished and to deter those who he

2 feels cannot. accomplish that that he has overstepped the

3 permissive bounds. |

4 There is no question but that a party who is

5 aggrieved has a right to seek legal redress. But when,

oe as it presently seems to this Court, based on the

7 . evidence before it, that process is abused, and one can
8] say, Not my fault, I hired a constable to do it, and that

i) constable hired an out-of-state constable to comply with
10 the Commonwealth's laws, the one who set the arrow in the
11 quiver for the bownan to use must bear the
12 responsibility. And that responsibility here was to
13 7 interfere with the purchaser who had been obtained by the
14 Receiver and to cali into question by that purchaser
15 . whether he ought to proceed.
16 The Court is not sure that the defendant here in |
Ede this contempt proceeding, the alleged contemptee, who the
18 Court's going to £ind to be in contempt, the Court's not |
19 gure that he understood that his actions specifically, |
20 likely would have the effect of precluding financing for !
ar | _ what the Court is told is a multimillion dollars! !
22 project. The Court's experience tells it that -- my mary |
23 years of banking law experience tell ‘me that it's going
24 to cause or could cause. very substantial problems to
25 Mr, Derosas and his -~ his group’. .

 

 

 

 

 

 
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" Case i:19-cv-00489-WES-LDA Document 15-1 Filed 10/16/19 Page 5 of 7 PagelD #: 150
. 168
1 The Court holds that Mr. Coccoli in his actions
2 subsequent to the time when St 46 abundantly clear that
3 he had notice of the provisions of the order appointing
4 the permanent receiver, which is still a valid order of
5 this Court, undertook to interfere with the Receiver in
6 the performance of his obligations; and further, that
7 they were part of a calculated plan to ultimately bring
8 ' to fruition the aspirations of Mr. Coccoli to end up as
9 | the developer of the project that hopefully at some point i
“10 | will take place at the Hope Mills.
11 The Court is not faulting Mr. Coccoli for his
12 - aspirations, The Court is faulting him and finding him
13 in contempt because when he didn't win after three .
14 attempts, when for whatever reason, I.am not intimately
15 aware of the reason, on three different occasions that he
16 wasn't able to bring it to fruition, he was seeking, as
17 he indicates on Page 15 of the Collins deposition taken
18 | on December 17, 2015, skating on Line 15 and continuing
19 - over onto the next page, that what he's trying to do is
20 } get back in the game. But that getting back’in the game
“2a - has continued after a purchase and sale agreement was
22 approved by the Court with a different buyer with whom he |
23, - has no relationship. That, in the view of this Court, :
24 constitutes clear and convincing evidence of the contempt |
25 which is alleged and now proven. by the Receiver. | .

 

 
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1 ‘The Court is going to direct the Receiver and

2 counsel, to prepare a list of costs and expenses incident

3 only to the contempt proceeding. The Court is going to
. 4 direct that a copy of that be furnished, one, to the

5 . Court; and two, to Mr. Coccoli. ‘The Court expects that

G that will be done not later than one week from today,

7 which ig ~~

8 What's tcday's date, the 12th?

9 THE CLERK: 12th.
190 “THE COURT: On the 20th at 9:30 -- an
14 What do we have that day?

12 (Pause) .
sey THE COURT: On the 20th at 3:30 the parties are
14 directed to appear before the Court, at which time I will
15 hear, one, argument as to what ought to be contained by

16 way of a remedy, taking into account the costs and .

17 expenses of the Receiver and his counsel.

18 By the way, when I say that is to be delivered, I

19 want to make sure that Mr, Coccoli gets that not at
20 . 6 o'clock in the aftermoon but by noontime of that day so-
21 | that he can digest it and appropriately comment on it to

22 the Court on the following day.‘ All right? |
23 And such other relief as may be sought the Court.
Rap will hear on that day and hear any objection to that.
a5 _ Your response to it, |

 

 

 

 

 

 
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170
2 _ MR, COCCOLI: Yes, sir.
2 THE COURT; All right. Thank you,
3 ALL PARTIES: Thank you, Your Honor,
4 THE COURT: Has everything been marked that should
5 be, gentlemen? |
eg - MR. HARRINGTON: Yes, Your Honor. -
7 THE COURT; All right.
8 Mister Coccoli, you only had one exhibit, You only
9 put in one exhibit; is that right?
10 | MR, COCCOLT: Yes, Your Honor.
LL THE COURT: All right. -
12 We are in recess. Thank you.
13 (Matter concluded) |
L4 (RECESS}
15
16
his
L8
19
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STATE OF RHODE ISLAND SUPERIOR COURT
PROVIDENCE, SC,

 

* Lawrence C, LaBonte
Potitiongr

V8. P.M. 10-4650

Now England Development Ri, LLC
Respondent

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ORDER GRANTING RECEIVER'S MOTION TO HOLD:
VINCENT R, COCCOLL SRLIN CONTEMD'E

The above matter was heard on April 6, April 14, April 12, Apeil 20, May 25 and
July 14, 2016, After consideration of the testimony, the documents presented and after
argument of counsel for the Receiver, Petor J, Furness (“Recelver”) and the Respondent,
Vincent R, Coccoli, Sr., Pro Se (hereinafter “Coccoli” or “Respondent”) and for the
reasons staled in the Court’s Bench Decisions on April (2, April 20, May 25, June 23 and
" July 11, 2016: it is therefore,
ORDERED:

1, The Court finds the Respondent, Vincent R, Coccoli, Sr. in willful contempt of
the Court's Order of August 31, 2010.

2, Iv order to purge his contempt, the Respondent is ordered and directed to pay over
to the Receiver the sum of $39,776.00, plus Interest representing the reasonable
attorneys fees and Recgiver’s fees and expenses imeurred by the Receiver in the
prosecution of the above niotion as found by the Cot on July 11, 2046 as set out

in the Bxpert’s Affidavit and Exhibits submitted on July 7, 2016; and

 

 

 
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Roviewar; Alexa Gonsconia

>. Based upon the evidence presented on May 25, 2016 tho Court finds that the
Respondent, Coccoli, currently jacks the income or assets to pay the amount
ordered in paragraph 2 above nor does he presently have sufficient income or
assels to make regular payments towards the retirement of that amount.

a, The Court shall review the Respondent’s ability to pay the amount ordered
in paragraph 2 only upon a request of the Receiver and after notice and the
opportunity for the Respondent to be heard on any Objection, .

4, An equitable attorney's licn, in the amount set forth in paragraph 2 is hereby

imposed upon any proceeds that might become avaliable to the Respondent from

_ any judgment or settlement in the matter of Vincent R. Coccoli, Sr. vs. Town of

Seltuate, et al, PC-2015-3539 snd upon any finds that may become available to

the Respondent as a result of the allowance of any claim within these
Receivership proceedings. . |

a, Respondent Coccoli is hereby restrained and enjoined from transferring,
selling, encuumbering, assigning or taken any action which has the purpose
or effect of reducing or eliminating his rights as a plaintiff or claimant in
these proceedings. |

- b. A copy of this Order shail be served upon all parties in this proceeding, in
Coccoli v. Town of Scituate, et al. PC-2015-3539 and wpon the Receiver
who are hereby ordered, directed and enjoined from making any paymonts
to Coccoli pursuant to any judgments, orders, claims or setiiements that

may be entered in PC-2015-3539 and/or this Recelvership Proceeding

 

 

 
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Raviewar, Aloxe Goneconte

without firsl satisfying in full Coccoli’s obligation set forth in paragraph 2,
upra
¢. Nothing in this Order may be interpreted as a finding, ruling or Order
regarding the merits of the claims or defenses sot out in the Town of
Scituate litigation or the merits of any claim or administrative claim that
ntay be pending or to be filed in this proceeding in the future,

5. Respondent Vincent R, Coccoli, Sr, his agents, assigns and others acting in
concert with him with notice hersof are hereby restrained and enjoined from
taking any action which has ihe purpose or effect of interfering wilh the
Receiver's administration of this receivership estate inchiding but not limited to
any actions taken with the purpose or effect of interfering with or restricting the
‘efforts of BMP, LLC, its members, agents, contractors and other acting with them
lo consummate Its Purchase and Sale Agreement with the Receiver for the
purchase and redevelopment of the Hope Mill,

Submitted by:

ean C. Harring, us
Richardson, Harrington & Furness
182 Waterman Street
Providence, RL 02906

Tel: (401) 273-9600/Fax: (401) 273-9605
Email: harrington@irhFlawri.con

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Ingtice Michael A. Silverstein Clerk, Superior Court The [26ilo.
Dated: “7/13 / 2076

 

 

 

 

 
Case 1:19-cv-00489-WES-LDA Document 22-2 Filed 11/05/19 Page 19 of 32 PagelD #: 481 |
Case 1:19-cv-00489-WES-LDA Document 15-3 Filed 10/16/19 Page 1 of 2 PagelD #: 156

STATE OF RHODE ISLAND . SUPERIOR COURT
PROVIDENCE, SC,

 

Lawrence C, LaBonte
. Petitioner

vs. P.M, 10-4650

New England Development RI, LLC
Respondent

 

This matter came on for hearing on January 8, 2016 on the Receiver’s Petition to Sell

One Main Street, Scituate, Rhode Island (the “Property”) Free and Clear of Liens (the “Petition”)

to BMP, LLC, a Rhode Island Limited Liability Company or its assignee or nominee (“Buyer")

- and after notice and a hearing on the Receiver’s Petition, and consideration of the Objections

filed by Vincent Coccoli, Sr. (“VC”) and the Receiver's response thereto and the Limited

Objection of the Rhode Island Department of Environmental Management. (“DEM”) and
Stipulation entered into between DEM and the Buyer, it is hereby: .

ORDERED, ADJUDGED AND DECREED: |

‘I, That due and timely Nottce of said Petition was provided to all creditors, to other
interested parties, the Town of Scituate, the IRS and the Rhode Island Division of Taxation, as
set forth in the Certificate of Service filed by the Recelver.

2, The Property has been sufficiently marketed by the Receive for approximately
five plus years, including advertisement of the sale twice in the Providence Journal and that the
marketing and sale efforts were commercially reasonable under the circumstances,

3 That no competing Offers for the Property were timely received by the Receiver,

4, ° That the Objection to the Petition filed by VC (“Objection”) is denied,

5. That the Limited Objection of DEM is satisfied through the Stipulation filed
herein, .

6. ‘That the terms of the Purchase & Sale Agreement entered into between the
Receiver and the Buyer (“P&S”) are reasonable and represent the highest and best-offer for the

Property.

 

 

 
Case 1:19-cv-00489-WES-LDA Document 22-2 Filed 11/05/19 Page 20 of 32 PagelD #: 482
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6, That the Recelver’s Petitlon is granted and he is hereby authorized to
conditionally sell the Property, HAS IS", “WHERE IS", WITH NO REPRESENTATIONS OR
WARRANTIES OF ANY KIND OR NATURE", free and clear of all interests, claims, [lens or
encumbrances to Buyer, pursuant to the tenuis of the P&S, for the.sum of $650,000 plus Buyer's
assumption of the Property subject to the Hens of Scituate for real estate taxes, Scituate for
Adminstrative Lien, Coventry for real estate taxes and the DEM Lien and NOV ("Assumed
liens”) and payment of Insurance premiums for the Property through closing,

7 That upon satisfaction of conditions and payment of the purchase price in full at
closing, the Receiver is hereby authorized to exeoute and deliver a Receiver's Deed conveying
all of his right, title and interest as Recelver In and to the Property, free and clear of all Interests,
claims, lens, encumbrances and muntolpal or deed restrictions, with the exceptlon of the
Assumed Liens to the Buyer, upon the terms and conditions set forth in the Purchase and Sales
Agreement and’ to take all other mensures reasonably necessary to effectuate the within
authorized sale,

8, That all Interests, claims, Hens and enoumbrances against the Property, with the
exception of the Assumed Liens, are hereby transferred to the proceeds of sale in the same
priority that existed prior to such transfer, ;

9, That all parties who assert claims or who have an interest, lien or encumbrance
against the Property , with the exception of the Assumed Liens, will have thelr lens extinguished
by this Order without any further actions being required of the Recelver and are hereby directed
to execute and deliver to the Receiver, within ten (10) days of his written request, lien releases
and all other documents necessary to evidence the release and discharge of such interests, claims,
Hens or encumbrances The claims shall be without prejudice to or waiver of any and all rights,
viking and Interests of such partles against the sale proceeds from the sale of the Property,

 

 

ENTER: . BY ORDER:
AS Ve eel fealeerte); /s| Bearee Heng lotaaky
Justice Michael A, Silverstein . Clerk, Superior Comt L1¥(2drb

- Dated: January 8, 2016

 

 

 
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STATE OF RHODE ISLAND SUPERIOR COURT
PROVIDENCE, SC

LAWRENCE LABONTE
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PM-2010-4650

v3,
NEE ENGLAND DEVELOPMENT RI, LLC
Se Defendants

ORDER

The parties having entered into a Scitlement Agreement in order to resolve all matters
raised in the Recciver’s Supplemental Motion for Contempt and the Objection of Vincent R.
Coccoli, Sr. without factual findings or legal conclusions, After consideration and review of the
executed Settlement Agreement attached hereto, [tis hereby;

ORDERED

}. The Respondent Vincent R, Coccoli, Sr. is restrained and enjoined fron taking
Bay aoleti Gither directly or indirectly, individually or with others, which has the purpose or
effect of Interfering with the Reeciver's administration of the Receivership Estate ov in any way
rontiiciig the efforts of the Receiver, BMP, LLC and Paramount, thelr members, agents,
contractors and others acting with them (collectively “BMP/Paramount”) to consummate the
Purchase and Sate Agrcement with the Receiver for the purchase and development of the Hope
Mill in Scituate, Rhode Island and more speci fically as follows:

(x) Coccoll is restrained and enjoined from causing any Facebook or other

social media postings or repostings, emails, or other communications of any sort which assoviatc

or connect BMP/Paramount, and/or the Receiver and their altorneys, with any alleged

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conspiracy, corruption, porjury, ileal, unscrupulous, fraudilent or incompetent activity relating
lo the design, permitting, financing or any other aspect of the BMP/Paramotnt effort lo purchase
and develop the mill,

(b) Coccoli is restrained and enjoined from naming BMP, Paramount, their
principals, agents, cmptoyces, contractors, allomeys or the Recciver, his attorneys or agents, in
aii litigation relating to the mill, specifically inchiding the Town of Seituate litigation as
identified in the Setlement Agreement,

(c) Caccoli is retrained and enjoined from posting on Facebook or other sacial

_ media ericats or other fornt of communication which directly or indirectly or by implication
make any connection between the allegations raised by Coccoli in the Town of Scituate matter
and BMP, Paramount and/or the Receiver, iheir agents, allorneys or contractors acting with them

"relating fo clforls to develop the Hope Mill, | |

(d) Coccoli is ordered to delete all Facebook postings or repostings which relate
to BMP, Paramount, ils agents or attorneys, the Receiver and his attorney, relating to the
BMP/Paramount efforts to redevelop the Hope Mill.

ay Coccolt acknowledges that all aspects of the Order entered on July 13, 2016 attached
as Exhibit A to the Settlement Agreement remains in full force and effect,

(a) No aspect of the restraining orders ontered herein shall restrict or diminish aif
rights as may be retained by the Respondent, Vincent R, Coccoli, Sr. to pursue the Appeal filed

dn tho Aa of Seltuaie matter, SU-2016-0240, except as those claiins may be limited by

Sections {a}, 1(b), I(c), 1(d).

 

 

 
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3. ‘The Receiver shall not lake any farther action with regard to the Supplemental Motion
auc ped

for Contempt and {ake no further action against Coccoti on account of the activities complained

of by the Receiver tn the Supplemental Motion for Contempt,

 

 

“pac:
Enter pHa ( ‘ Per as J
_ /S/hihtie tlaskomyY
Silverstein, J., Associate Justice Clerk, Providence County Superior Court
Providence Counly Superior Court j
Vf2atl

Corlification

L hereby certify that on October 27, 2017 I sent the above Order to (he following parties

by electronic mail: °

eapevenet OF
ae tree

Vincent &, Coceoll

fst Kristen Oscarson

 

 

 
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STATE OF RHODE (ISLAND SUPERIOR COURT
PROVIDENCE, SC,

Lawrence C, LaBonte
Petitioner

vg PM 2010-4650

New England Development RU, LLC
Respondent

SET LEMUNT AGREEVEINT

The pariies hereto, bolng Vineoat R. Coccoli, Sv. (hereinafter “Coccoll”) and Peter J.
Furness as Recelver of New Bugland Devotopmen( (hereinalter "Receiver", who agree as follows:

WRERES, Peter J. Furness was appointed Permanent Recelver of New Bugland
Dovelopmient oh Augast 31, 2010; ard

WHERBAS, the Receivership state conslsis primarily of an abandoned and deteriorating
mill building known al (he opo Mill, lovated in the Village of Hope tu the Town of Setuiate,
Rhode island oid assels rolatig thereto COMET}; and °

WHEREAS, the Order Appointing Permanent Receiver Inchided an injunction against any

| panties taking notion agalnst property of the estate or inferforlng with the Receiver in his

edininistration of the Recalvership Estate; and

WHERBAS, Caccoli ns, for many years, beon engaged ln an offort to purchase the Mill
nnd develup the Mill as residential housing; and

WHEREAS, despile cntedig into a mumber of Comt approved purchase and sale
agreements with the Receiver, Covcoll has been amable to close on 4 sale and develop the properly;

and

 

 

 

 

 

 
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WHERBAS, on or ahoul January $, 2016 the Providence County Superior Count ontered its
Order authorizing the Recelver fo enter Into a Purchase and Sale Agreement with BMP, LLC
Cherolnafter “BMP") for the purchase and anticlpated developntout of (ha Mil; and

WHEREAS, BMP is asseclated with Paramowit Development, LLC, and Richard Derosns
(Paramount) to perfonn the admlntstiative and construction work necessary to develop the Mitt
and Ihe surrounding property info affordable residential apartments; and

WHEREAS, Paramount and BM have undertaken substantial efforts to and lavested
gubstantlal finds in seeurlng the property to date, maintaining Instance for the benofil of the
Receiver, developing architectneal, enghieoring and other plans for permitting, constuction and
finanglag of the Mii; and

WARREAS, the Receiver and BMP/Paramount have mutually agreed for consideration to

oxtend the date for closing of BMP's purchinse of the property fo May of 2018 ("Closing"); and

WHEREAS, Paramount end the Reeelver curently have applications pending before (he
Zoning Board of Review of tho Towa of Scituate anc plans pending before the Planning
Commission of the Town of Scituate and matiers with the Town counsel ail relaltng to permits and
Agreonionts necessary to accomplish ihe BMP/Paraniount plans lo develop the MiH; andl

WERREAS, BMP/Paramount has filed appltoations with Rhode Istand Housing for tax
oredits ayallable for affordable housing and proposals for constriction and development fnanoing
and expects a favorable deciston prior to Ihe expiration of the time for Closing; and

WHEREAS, Coccoli ls engaged in lilgation against (lie Town of Scituate, styled Macent R.
Coccall, Sr. v, Town of Scituate ef al, Providence County Superlor Court CA No. PC-201 53539 in

which Coccoll has appealed from the grauting of summary Judgntent on all claims in favor of all

 

 

 

 

 

 
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yea’

defendants, SU-2016-0240 in the Rhode Island Supreme Comt (the “Fown of Selnuate LAtigation”);
and . |

WHEREAS, afer nollce and a hearing, Coccolt was found to have violated the Injunction
contained withhy the Order of August 3}, 2010 by wwrongfully interfering with the Recetyer's *
efforts fo close the gale to Paramount; and

WHEREAS, on July (3, 2016, Providence County Superior Court entered an Order Nnding
Coecali in contempt and entered a more specific Infunetfon and réstralining Order (a copy of the July
13, 2016 Order C’Contempt Order”) is altnched hereto as Exhibit A); and

WHEREAS, Coccall has Hed ay Appeal from the Contempt Order, which is docketed fn
Ihe Rhode [sland Supreme Court, SU-20 16-239 (ihe “Contos Appeal’); onc

WHERBAS, in July 2017 the Recolver fited a Supplemental Motion to Hold Coecoll In
Canin pt for additional alleged violations of Paragraph 5 of the Cantempt Order; and

WHEREAS, Coccoli filed an Objection to the Recelyer’s Motton and au evidentiary hearing
was held on August 23, 2017 and continied on September [, 2017, in which testimony was laken
fran .Gacacli; Derosas and the Receiver; and

WHEREAS, the Receiver and Coccoll wish to resolve all matters raised In tho Recolver's
Supplemental Molton for Contempt and Coczoll's Objection without tho Court ineking findings ot
n ceoistons and

WHEREAS, Caccoil has represented himselt pro se tn this proceeding, as weil ay In the
Town of Seltuate matter nad both matters hy the Supreme Court and has had the oppoutwnlty (o have
an attorney enter an appenmec in this matter and to adviso him regarding this Settlement

Agreement, which he has chosen not to do;

 

 

 

 

 
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. Now THEREFOR, in consideration of the nuuual promises conlained herein, the partes
agree as follows: . |

1, Coccoll will take no aciton either directly or indivectly, Individually or with offers, which
"fins the purpose ov effect of Interferlng with the Recciver's adininistralion of the Receivershlp Estate
or in any way resiileting the efforts of the Recelvet BMP, LLC and Paramount, thelr members,
agonts, contractors and others aoting with them (collectively “pM P/Paramount') to consummate the
Purchase and Sale Agreement with the Revelver for the purchase and development of the Mil,

incliding, more specifically as Jollows: -
a, Coccoli shall rofain from enusing any Facebook or other soclat medty postings,
of repostings, email or other commmuuleation of any sort which comneot BMPE/Paranonat, and/or (lie
Receiver and his attorneys, with any alleged conspiracy, corraplion, perjury, illegal, unscrupulous,
» fraudulent or Incompetent aclivily relating to the design, permitting, fasnelng or any olfier aspeet of

the BMP/Paraniount effort to purcliase and dovelop the Mill,

». Coceoli will not name as parties BMP, Paramount, lbelr principals, agents,
employees, contractors or altomeys, or the Receiver, his attorneys or agents is ay Hllgation relating

tothe MiH, specifically including tie Town of Scituate litigation.
v, Coccoli will nol, dircetly or Indirectly, by inference or Implication, with Pacebook
or other soclal media posting, cmail or any other form of commiunteation , make any connecilon
. between the allegations raised by Coccoll In the Pow of Setudte matter and BMP, Paramount

and/or the Recalyer, their agents, allomneys or coulrnctors acting with them in their efforts lo devalop

the Milt;

 

 

 

 

 
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d. Caveali will delete all Facebook posthigs or cepostings which rele to BMD,
Jeera, ly nyurls ve nllonioy’s, oF Hhe Receiver amd his afloravys, velaliig to the BMP/Paranount
gtlnvta to redevelop the MUL,

‘ 2, Goren will wwitlucleay the Appgal taken front (he Couet's Ordar of duly 0), 2016, 80-
N23 and Covuall avknowledges lia all aspects of the Order of July 13, 2016 renin Ti fuel force
and elect. -

{n) Coccoll retains ll rights to pursue his Anpent tn the Joie af Seftade inalter,
SU-201602+4) except ux tinted by Seettans IQ), 1{h) and Ie) of this Agreement,
1 The Revelyer wit withdraw ind diseontinte, with the peanisston of the Cou, lle

ponding Supplements! Motion for Contempt and tuke no futher notion aginst Coceoll on accounl

 

of the activites previously consplaited af'by the Reeeiver in tho Supplemental Motion, nor will the
Reeulver luke way Ther teflon seeking fo Sind Coceali in contempt fer any actions wken betes
the entry of (he Order on July 13, 2016 throu dhe date of this Apreemont antess the terms ofthe
Caiee ee vulated, ;

4, ‘Hie pauley hyreta achnoswtedge that this Agreeumnt is entered Into int order fo avoid the
coal, expentens and tsk ofcontinued IHigation; nuither panty nelogiting by te Preis alleged by the
other ane the parties ave asking lint ilis Agreement be approved by the Cour] without making any
fretual Tindings or legal convlusiony bused upoo the evidence ac arguineni presonted.

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Dt Ges A

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Kid C, Harriton, (sq.
Attummy for the Reculyer

aye

 

 

 

 

 
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So Orderdd:

ee a a a ee es en ree ae

Silverstein, f, Clerk
Associate Justices Providence County Superior Cott Providence Country Superlor Court

 

 

 

 

 

 
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thoviavier: Alexa Goneconta

STATE Ol RHODE ISLAND SUPERIOR COURT
PROVIDENCE, SC,

 

' Lawrence C, LaBonte
Petitioner

V3, PLM, 10-650 -

New England Development RI, LLC
Respondent

 

ORDER GRANTING RECEIVER'S MOTION TO HOLD
VINCENT BR, COCCOTA, SRAIN CONTENT

The above matler was heard on April 6, April 11, April 12, April 20, May 25 and
July. 11, 2016, After consideration of the testimony, the documents presonted and after
argument of counsel for the Recuiver, Poter J, Furness (*Recelver") and the Respondent,
Vincent R. Coesoll, Sr., Pro So (hercluater “Coccoli” or “Respoudent") and for thy.
reasons stated in the Court's Bonch Decisions on April 12, April 20, May 25, June 23 and
july (1, 2016; il {3 therefore,
ORDERED:
J, Tho Cout finds tho Respondant, Vincent R. Covcoli, Sr. in willful contempt of
tho Court's Order of August 31, 2010,
ue 2, In ordor to purge his contempt, the Respondent is ordered and directed to pay over
lo the Reociver the suns of $39,776.00, plus Interest ropresenting tho rensonable
attorneys furs andl Recelver’s fees anil expenses jneurred by the Resolver in the
proscoution of lhe above motion as found by the Court on July 11, 2016 99 set out

in the Expert's Affidavit and Exhiblls submitted on July 7, 2016; and

ey plead” Anes F
LE; bes FO

 

 

 

 
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3, Based upon the evidence preseated on May 25, 2016 tho Court finds that the
Respondent, Coccoli, currently lacks the Income or assets lo pay the amount
ordered in parngraph 2 above nor does he presently have sufficient income or
assels to’'mnke regular payinents towards tho rotirement of That anidunt,

a. The Court shalt review the Respondent's ability to pay the amount odeted
in paragcaph 2 only nport a request of the Kecolver ond afer nolice and the

opportunity for the Respondent to be heard on nny Objection,

 

4, An equitable attorney's Hon, in the amount set forth in paragraph 2 Is hereby
imposed upon any proceeds thal might become available to the Respondent from
any judgment or seltlentent in the matler of Vincent & Ceccoll, Sr. vs. Town of
Seltuate, ef al, YC-2015-3539 and upon any finds Ihat may become available to
the Respondent as a result of the allowance of any ¢loim within these
Reeslverstilp proceedings.

a. Respondent Coccoli is hereby restenined and enjoined from transferring,
selling, encumbering, assigning or taken any action which has the purpose
or effeci of reducing or ellminating his cights as a plaintiff or claimant in

_ these proceedings,

b. A copy of this Order shall be served upon all parties In this proceeding, in
Coccoll y. Town of Seiinate, et al, PC-2015-3539 and upon the Recsiver
who are hereby ordered, directed and enjoined from moking any payments
to Coccoli pursuont to any judgntents, orders, claiins or settlemonts thal

(nay be ontecad in PC-2015-3539 and/or this Recelvership Proveeding

 

 

 

 
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without fist satisfying jn full Coccoli's obilgation set locth in paragraph 2,
Supa

ec. Nothing in this Order may be interpreted as a finding, cuting or Order
regarding the merits of the ctalms or defensys set ont In the Town of
Scituate litigation o¢ lie merits of any claim or administrative claim that
aay be pending or to be filed in this proceeding fa the future.

5, Respondent Vincont R. Coccoli, Sr, tis agents, assigns and others acting in
concert with bim with notice hereof are hereby restrained and ovjoined from
taking any action which has the purpose or cffect of interfering with the
Receiver’s administration of this receivership estate Inchuling but not limited to
any actions taken with he purpose or effect of interforing with or restricting the
efforts of BMP, LIC, ils members, agents, contractors and other acting with thein
10 consummate ils Purchase and Sale Agecement with the Receiver for the
purchase and redevelopment of the Hope Mill,

Submitted by:
és/ Alden C, Harrington, fsq,

Richardson, Flarcinglon & Furness

182 Waterman Sireet

Providence, RI 02900

Tob: (4013 275-9600/Pax: (401) 273-9605
Bormik: harrington@rh flawrl vom

ENTER: BY ORDER:
Sy plo van
Aitul ECA 3 Qo C4 ——— Jt Beater VMenlachsalary
™ Justice Michael A, Silverstein Cleck, Superior Court -7/)4 [2dt Le,

pate “7/9/2076

 

 

 

 

 
